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, AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                         Sheet I



                           UNITED STATES DISTRICT COURT
                                                                      TAM
                                      Eastern District of Arkansas  By:_~YAIIIC.L~C~l=E~R=K~
             UNITED STATES OF AMERICA             ~ JUDGMENT IN A CRIMINAL CASE       DEPCLERK

                                  v.                                   )   (For Revocation of Probation or Supervised Release)
                                                                       )
                   JOSE ISRAEL GARCIA                                  )
                                                                       ) Case No. 4:07CR00232-03 BRW
                                                                       ) USM No. 24781-009
                                                                       )
                                                                       )   Omar Greene, II
                                                                                                   Defendant's Attorney
THE DEFENDANT:
 ~ admitted guilt to violation of condition(s)              Standard & Special             of the term of supervision.
 □   was found in violation of condition(s) count(s) - - - - - - - - after denial of guilt.
 The defendant is adjudicated guilty of these violations:


Violation Number                Nature of Violation                                                              Violation Ended
Standard (1)                     Leaving the district without permission of the Court or pro                     10/12/2021

                                  bation office.

Standard (2)                      Failure to report to the probation officer and submit a truthful               03/13/2021
                                  & complete written report within the first 5 days of each month.

        The defendant is sentenced as provided in pages 2 through _ _3__ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of I 984.
 □   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
 fully p~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
 economic crrcumstances.

 Last Four Digits of Defendant's Soc. Sec. No.: 2213                                                    07/07/2022

 Defendant's Year of Birth:            1984

 City and State of Defendant's Residence:

                                                                                   BILLY ROY WILSON, U.S. DISTRICT JUDGE
                                                                                                    Name and Title of Judge

                                                                                                      '1- 7- U-
                                                                                                             Date
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                                                    ADDITIONAL VIOLATIONS

                                                                                                                      Violation
 Violation Number                Nature of Violation                                                                  Concluded
 Standard (6)                    Failure to notify the probation officer at least ten days prior to any change in   03/13/2021

                                 residence or employment.

 Standard (5)                    Failure to work regulary a lawful occupation.                                        10/08/2021

 Special                         Failure to reside in a residential reentry center for a term of 180 days to          10/08/2021

                                 commence upon release from imprisonment.
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• AO 245D (Rev. 09/19)      Judgment in a Criminal Case for Revocations
                            Sheet 2- Imprisonment
                                                                                                     Judgment - Page   -=3-    of   3
  DEFENDANT: JOSE ISRAEL GARCIA
  CASE NUMBER: 4:07CR00232-03 BRW


                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
  term of:
  7 months with no term of Supervised Release to follow.




       □       The court makes the following recommendations to the Bureau of Prisons:




       li'f'   The defendant is remanded to the custody of the United States Marshal.

       □       The defendant shall surrender to the United States Marshal for this district:
               □    at   _________ □                       a.m.      □    p.m.    on
               □    as notified by the United States Marshal.

       □       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               □    before 2 p.m. on
               □    as notified by the United States Marshal.
               □    as notified by the Probation or Pretrial Services Office.

                                                                          RETURN
  I have executed this judgment as follows:




               Defendant delivered on                                                    to

  at    _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                                 By
                                                                                               DEPUTY UNITED STATES MARSHAL
